       Case 3:17-cv-00072-NKM-JCH Document 164-1 Filed 12/29/17 Page 1 of 4 Pageid#: 740


Christopher Greene

From:                 Mike Peinovich <mpeinovich@gmail.com>
Sent:                 Thursday, December 28, 2017 3:40 PM
To:                   Christopher Greene
Cc:                   David Campbell; Elmer Woodard; Kim Davis; James Kolenich; Bryan Jones; David Hauck; Justin
                      Gravatt; Julie Fink; Philip Bowman; Levine, Alan; Joshua Libling
Subject:              Re: Sines v. Kessler


All,

As far as the hearing on the motion regarding the right of certain plaintiffs to proceed under pseudonyms, while I will be
unable to attend such a hearing due to my geographical distance, I support the position of Mr. Fields' attorney and
believe that if he does not consent to the matter being decided without a hearing that he has a good reason for this, and
if he wants to argue the matter in front of the court then he should have the opportunity to do so.

As far as the confidentiality order, I had told you before that my main concern was that should I disclose any documents
that I have the right to redact the names or personal information of anyone that is not named in this suit. Since your
draft order stipulates that any party can designate certain information as "highly confidential" I think that this satisfies
my concerns in that regard.

For the record I did not decline to comment on the confidentiality order, I was simply busy and traveling during the
Christmas season and did not have the opportunity to look at things in detail. I was also trying to be magnanimous to all
other parties involved in this and give everyone a bit of time to relax and enjoy their Christmas. In any case, I think the
order is fine.

Thanks and Happy New Year,

Mike Peinovich

On Thu, Dec 28, 2017 at 2:06 PM, Christopher Greene <cgreene@kaplanandcompany.com> wrote:

 Mr. Campbell,



 As no defendant opposed Plaintiffs’ motion, we fail to see why a hearing on that motion would be necessary. We will
 be filing with the Court a notice that Plaintiffs and certain defendants believe the motion may be decided without a
 hearing.



        Other counsel/parties – Please let us know by 4 pm if you do not consent to joining a notice to the Court
           indicating that Plaintiffs and Defendants (excepting Mr. Fields) consent to proceeding without a hearing. We
           will be filing the notice this evening.




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As for the confidentiality order, we await Mr. Peinovich’s comments. Should you and other defendants wish you
proceed without him, Plaintiffs are prepared to file on January 2 the draft circulated among the group on with a note to
the Court that Mr. Peinovich had three weeks to provide comments and declined to do so.



Regards,



Christopher B. Greene

Kaplan & Company, LLP

(929) 294‐2528




From: David Campbell [mailto:DCampbell@dhdglaw.com]
Sent: Thursday, December 28, 2017 10:37 AM
To: Christopher Greene <cgreene@kaplanandcompany.com>; Mike Peinovich <mpeinovich@gmail.com>; Elmer
Woodard <isuecrooks@comcast.net>; Kim Davis <KDavis@dhdglaw.com>; James Kolenich <jek318@gmail.com>; Bryan
Jones <bryan@bjoneslegal.com>; David Hauck <DHauck@dhdglaw.com>; Justin Gravatt <JGravatt@dhdglaw.com>
Cc: Julie Fink <jfink@kaplanandcompany.com>; Philip Bowman <pbowman@bsfllp.com>; Levine, Alan
<alevine@cooley.com>; Joshua Libling <jlibling@BSFLLP.com>
Subject: RE: Sines v. Kessler



All,

I do not consent to this motion being decided without a hearing. Also, what is going on with the confidentiality order?

Dave



______________________________________

David L. Campbell

DUANE, HAUCK, DAVIS & GRAVATT, P.C.

100 West Franklin Street

Richmond, Virginia 23220

Telephone No.: (804) 644-7400


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Facsimile: (804) 303-8911



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dcampbell@dhdglaw.com immediately.




From: Christopher Greene [mailto:cgreene@kaplanandcompany.com]
Sent: Wednesday, December 27, 2017 5:09 PM
To: Mike Peinovich <mpeinovich@gmail.com>; Elmer Woodard <isuecrooks@comcast.net>; Kim Davis
<KDavis@dhdglaw.com>; James Kolenich <jek318@gmail.com>; Bryan Jones <bryan@bjoneslegal.com>; David Hauck
<DHauck@dhdglaw.com>; David Campbell <DCampbell@dhdglaw.com>; Justin Gravatt <JGravatt@dhdglaw.com>
Cc: Julie Fink <jfink@kaplanandcompany.com>; Philip Bowman <pbowman@bsfllp.com>; Levine, Alan
<alevine@cooley.com>; Joshua Libling <jlibling@BSFLLP.com>
Subject: Sines v. Kessler



All,

Please let us know by mid‐day tomorrow whether you consent to the Court ruling on the Doe Plaintiffs’ Motion to
Proceed under Pseudonyms without a hearing.

Regards,



Christopher B. Greene

Kaplan & Company, LLP

(929) 294‐2528



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Spam
                                                                           3
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Phish/Fraud
Not spam
Forget previous vote

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